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                                           PRECEDENTIAL

           UNITED STATES COURT OF APPEALS
                FOR THE THIRD CIRCUIT

                      ________________

                         No. 22-1499
                       _______________

    MS. LINDA MIGLIORI; FRANCIS J. FOX; RICHARD E.
     RICHARDS; KENNETH RINGER; SERGIO RIVAS,
                              Appellants

                               v.

                     ZACHARY COHEN,
                           Intervenor – Plaintiff

                               v.

          LEHIGH COUNTY BOARD OF ELECTIONS

                               v.

                       DAVID RITTER,
                            Intervenor - Defendant

                 ________________________

         On Appeal from the United States District Court
            for the Eastern District of Pennsylvania
                       No. 5-22-cv-00397
          District Judge: Honorable Joseph F. Leeson
                   ______________________

                     Argued: May 18, 2022
                      _______________

    Before: McKEE, GREENAWAY JR., and MATEY, Circuit
                        Judges.

                 (Opinion filed: May 27, 2022)
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                           _____________
                              OPINION
                           ______________

   McKee, Circuit Judge.

           The Materiality Provision of the Civil Rights Act1
   prohibits any “person acting under color of law [from]
   deny[ing] the right of any individual to vote in any election
   because of an error or omission . . . if such error or omission
   is not material in determining whether such voter is qualified .
   . . to vote in such election.”2 In Pennsylvania, an error or
   omission is material to a voter’s qualifications to vote if it is
   pertinent to either the voter’s age, citizenship, residency, or
   felony status3 or the timeliness of the ballot.4
           We are asked to determine if a date on the outside of a
   mail-in ballot, required under state law, is material to the
   voter’s qualifications and eligibility to vote. However, in
   resolving that question, we must decide whether private
   plaintiffs can even bring this suit to enforce the Materiality
   Provision.
           We hold that private plaintiffs have a private right of
   action to enforce § 10101 under 42 U.S.C. § 1983, and further
   hold that the dating provisions contained in 25 Pa. Cons. Stat.
   §§ 3146.6(a) and 3150.16 are immaterial to a voter’s
   qualifications and eligibility under § 10101(a)(2)(B).
   Accordingly, we will remand to the District Court and direct
   that Court to enter an order that the undated ballots be
   counted.
                      I.     Factual Background
          In 2019, the Pennsylvania General Assembly enacted
   new mail-in voting provisions, which permitted all registered
   voters to vote by mail.5 To receive the mail-in ballot, a voter
   must first complete an application that requires the voter to
   provide his or her name, address of registration, and proof of


   1
     52 U.S.C. § 10101(a)(2)(B).
   2
     Id.
   3
     See 25 Pa. Cons. Stat. §§ 1301(a), 2811, 3150.16(b).
   4
     Id. § 3146.6.
   5
     Act of Oct. 31, 2019, PA. LAWS 552, No.77 § 8.
                                  4
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   identification.6 The county board of elections then verifies
   that information and compares the application to the
   information on record for the voter.7 If the information on the
   request for a mail-in-ballot is consistent with the registration
   information for that voter, the voter receives a ballot package
   that contains a ballot, a secrecy envelope, a return envelope,
   and instructions for completing the absentee or mail-in
   ballot.8 The voter casts his or her vote by marking the ballot,
   placing it in the secrecy envelope, and then placing the
   secrecy envelope in the return envelope.9 Under the
   Pennsylvania Election Code, the voter must “fill out, date
   and sign the declaration,” otherwise known as the “voter
   declaration” printed on the return envelope.10 The voter then
   mails or delivers the ballot to the county elections board.11
   Delivery is timely if received by the board of elections by
   8:00 p.m. on Election Day.12 When county boards of elections
   receive a mail-in ballot, the ballot’s envelope is stamped with
   the date of receipt and logged into the Statewide Uniform
   Registry of Electors (SURE) system.13
           The Lehigh County Board of Elections (LCBE) held
   an election on November 2, 2021, to fill vacancies for the
   office of Judge of the Court of Common Pleas of Lehigh
   County. Six candidates ran for three available judgeships.
   Candidates Thomas Caffrey and Thomas Capehart received
   the most votes and were sworn into office. During the
   counting of the ballots, the LCBE set aside 257 out of
   approximately 22,000 mail-in or absentee ballots that lacked a
   handwritten date next to the voter declaration signature. The
   LCBE also received four ballots with the date in the wrong
   location on the outer envelope and set those aside. It is
   undisputed that all of these ballots were received by the
   deadline of 8:00 p.m. on election day. As of November 15,

   6
     25 Pa. Cons. Stat. §§ 3146.2, 3150.12.
   7
     Pa. Dep’t of State, Guidance Concerning Examination of
   Absentee and Mail-In Ballot Return Envelopes at 2 (Sept. 11,
   2020).
   8
     JA 165.
   9
     JA 166.
   10
      25 Pa. Cons. Stat. §§ 3146.6(a), 3150.16(a).
   11
      Id.
   12
      Id.
   13
      Id. § 1222.
                                  5
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   2021, candidate David Ritter received the third most votes in
   the election, which is seventy-four votes more than the
   candidate in fourth place, Zachary Cohen.

                    II.    Procedural History
           The LCBE convened a public hearing on November
   15, 2021, to consider whether to count the disputed (i.e.,
   undated) ballots. During the hearing, the chief clerk testified
   and offered his conclusion that the undated declaration ballots
   were not effective and should not be counted because the
   declaration on the outside envelope was undated. Similarly,
   the LCBE’s solicitor testified that he understood that the
   Pennsylvania Department of State had advised that a dated
   declaration was required. There was also testimony that the
   LCBE “ha[d] decided to count ballots where voters provided
   their birthday dates.”14 The LCBE voted 3-0 to count the
   undated ballots.
           On November 17, 2021, Ritter appealed with the
   Lehigh County Court of Common Pleas. An evidentiary
   hearing and oral argument followed. The trial court later
   issued an opinion and order on November 30, which affirmed
   the LCBE’s decision to count the disputed ballots.
           Ritter then appealed the trial court’s decision to the
   Commonwealth Court of Pennsylvania. The court granted a
   stay pending to the Court of Common Pleas. That court
   prohibited the LCBE from opening and counting the disputed
   ballots. On January 3, 2022, the court issued its opinion and
   order, ultimately concluding that the undated ballots should
   not be counted. However, on January 27, the trial court
   entered an order, directing the LCBE to count the four
   misdated ballots but not the 257 undated ballots.15
           On January 31, Plaintiffs Linda Migliori, Sergio Rivas,
   Richard Richards, Francis J. Fox, and Kenneth Ringer
   (Voters) sued the LCBE in the Eastern District of
   Pennsylvania. They argued that the LCBE’s decision to not
   count their votes simply because they had not entered the date
   on the outside envelope violated their rights under the
   14
      JA 254.
   15
      The Supreme Court of Pennsylvania denied a petition for
   allowance of appeal by the LCBE on the same day. Ritter v.
   Lehigh Cnty. Bd. of Election, No. 9 MAL 2022, 2022 WL
   244122 (Pa. Jan. 27, 2022).
                                  6
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   Materiality Provision of the Civil Rights Act. Ritter and
   Cohen both intervened in the action, and the parties cross-
   moved for summary judgment.16
           Voters are five individuals between the ages of 66 and
   76 residing in Lehigh County. Some are Democrats and some
   are Republicans. They used mail-in ballots in the November
   2021 county elections.17 Their ballots, along with 252 other
   Lehigh County mail-in ballot voters,18 were set aside and not
   counted merely because they did not write a date on the
   envelope.19 We again note that it is undisputed that their
   ballots were received before the 8:00 p.m. deadline and the
   only thing that prevents their vote from being counted is the
   fact that they did not enter a date on the outside envelope.20
           On March 16, 2022, the District Court granted the
   LCBE and Ritter’s motions for summary judgment.21 The
   Court held that there was no private right of action to enforce
   the Materiality Provision.22 This expedited appeal followed.

                        III.   Discussion23
          As noted at the outset, we must determine whether the
   District Court erred in finding Voters have no right of action
   to enforce the Materiality Provision of the Civil Rights Act.
   16
      Migliori v. Lehigh Cnty. Bd. of Elections, No. 5:22-cv-
   00397, 2022 WL 802159, at *1 (E.D. Pa. Mar. 16, 2022).
   17
      Id.
   18
      According to Cohen’s campaign, of the disputed ballots the
   “average age of these voters was 71 at the time they voted.
   224 of them were over 55 and 193 were over 65. Fifteen of
   the [d]isputed [b]allots came from voters over the age of 90,
   one of whom was 100 years old and another was 103 years
   old.” JA 169.
   19
      Migliori, 2022 WL 802159, at *1.
   20
      As noted above, their votes would have been counted if
   they had entered any date, even an obviously incorrect one.
   21
      Migliori, 2022 WL 802159, at *15.
   22
      Id.
   23
      The District Court had jurisdiction pursuant to 28 U.S.C. §
   1331. We have jurisdiction pursuant to 28 U.S.C. § 1291. We
   review a grant of summary judgment de novo. Tundo v.
   County of Passaic, 923 F.3d 283, 286 (3d Cir. 2019). We also
   review a district court’s legal conclusions de novo. Acierno v.
   Cloutier, 40 F.3d 597, 609 (3d Cir. 1994) (en banc).
                                  7
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   We conclude that it did and reverse. We hold that Voters may
   enforce the Materiality Provision of the Civil Rights Act (52
   U.S.C. § 10101(a)(2)(B)) by an action brought under 42
   U.S.C. § 1983. Accordingly, we need not decide whether
   Congress also intended to create an implied right of action.24

             1. Enforcement Via 42 U.S.C. § 198325
           In Gonzaga University v. Doe, the Supreme Court held
   that a federal statute that unambiguously confers an
   individual right is presumptively enforceable by private
   plaintiffs via § 1983.26 Accordingly, to determine whether a
   federal statute is enforceable by private plaintiffs via § 1983,
   we must first ask “whether Congress intended to create a
   federal right.”27 If a federal right is found, we then ask



   24
      Moreover, this matter is expedited and comes before us on
   cross motions for summary judgment. There are no genuine
   disputes of material fact for the District Court to resolve. We
   will resolve the underlying legal issues in the interest of
   judicial economy rather than remanding the case back to the
   District Court for a legal ruling that could result in further
   delay and an additional appeal. See Hudson United Bank v.
   LiTenda Mortg. Corp. 142 F.3d 151, 159 (3d Cir. 1998).
   25
      Appellees argue that Voters waived whether they could
   enforce the Materiality Provision via § 1983 because it “was
   not developed below.” Appellee Ritter Br. at 33; see also
   Appellee LCBE Br. at 9. Though they describe the issue as
   waiver, it is unclear whether the Appellees are really making
   a forfeiture argument here because they contend that Voters at
   no point adequately developed this argument below. See
   Hamer v. Neighborhood Hous. Servs. of Chicago, 138 S. Ct.
   13, 17 n.1 (2017) (“The terms waiver and forfeiture—though
   often used interchangeably by jurists and litigants—are not
   synonymous. ‘[F]orfeiture is the failure to make the timely
   assertion of a right [;] waiver is the ‘intentional
   relinquishment or abandonment of a known right.’”
   (alterations in original)). Regardless, we find this argument
   unpersuasive as Voters clearly pled that they were asserting
   their claims through § 1983 throughout their complaint.
   26
      536 U.S. 273, 284 (2002).
   27
      Id. at 283 (emphasis omitted).
                                  8
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   whether defendants rebutted the presumption that it can be
   enforced in an action under § 1983.28
            The District Court found that the Materiality
   Provision unambiguously confers a personal right because it
   “places ‘[a]ll citizens’ qualified to vote at the center of its
   import and provides that they ‘shall be entitled and allowed’
   to vote.”29 We agree.
           Accordingly, we need only decide if Appellees
   rebutted the presumption that this right is enforceable under §
   1983. A defendant can rebut the presumption but only by
   “showing that Congress ‘specifically foreclosed a remedy
   under § 1983.’”30 The presumption is generally only rebutted
   in exceptional cases.31 To rebut the presumption, a defendant
   must point to either “specific evidence from the statute itself”
   or “a comprehensive enforcement scheme that is incompatible
   with individual enforcement under § 1983.”32 Appellees
   cannot establish either.
           The text of § 10101 does not preclude a § 1983
   remedy, and neither Appellee argues that it does. Specifically,
   § 10101(d) explains that federal courts “shall have
   jurisdiction of proceedings instituted pursuant to this section
   and shall exercise the same without regard to whether the
   party aggrieved shall have exhausted any administrative or
   other remedies.”33 Thus, this section specifically
   contemplates an aggrieved party (i.e., private plaintiff)
   bringing this type of claim in court. It does not shut the door
   on the mechanisms by which a party may pursue enforcing
   their right under the statute.
           Nor does § 10101 include a comprehensive
   enforcement scheme that is incompatible with individual
   enforcement under § 1983 and therefore indicative of a
   congressional intent to foreclose a private right of action. The
   Supreme Court has found that statutory enactments preclude
   private enforcement actions pursuant to § 1983 in very few
   instances. In doing so, the Court “ha[s] placed primary

   28
      See id.
   29
      Migliori, 2022 WL 802159, at *10 (alteration in original).
   30
      Gonzaga, 536 U.S. at 284 n.4 (citing Smith v. Robinson,
   468 U.S. 992, 1004–05 n.9 (1984)).
   31
      Livadas v. Bradshaw. 512 U.S. 107, 133 (1994).
   32
      Gonzaga, 536 U.S. at 284 n.4.
   33
      52 U.S.C. § 10101(d).
                                  9
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    emphasis on the nature and extent of that statute’s remedial
    scheme.”34 In Middlesex County Sewerage Authority v.
    National Sea Clammers Ass’n, the Court discussed how the
    relevant statute both provided “a panoply of enforcement
    options, including noncompliance orders, civil suits, and
    criminal penalties” for the agency’s use and authorized
    “private persons to initiate enforcement actions” in several
    provisions.35 The Court thus concluded it was “hard to
    believe that Congress intended to preserve the § 1983 right of
    action when it created so many specific statutory remedies.”36
    In Smith v. Robinson, the Court explained how “the review
    scheme in the [statute] permitted aggrieved individuals to
    invoke ‘carefully tailored’ local administrative procedures
    followed by federal judicial review.”37 The Court explained
    “that Congress could not possibly have wanted [individuals]
    to skip these procedures and go straight to court by way of §
    1983.”38
            Appellees argue that the inclusion of a right of action
    for the United States precludes a right of action for private
    plaintiffs.39 It is true that the statute refers to the Attorney
    General’s enforcement ability.40 But this is distinguishable
    from the agency authorizations recognized in Sea Clammers.
    Here, as Intervenor-Appellee Ritter concedes, “the Attorney
    General’s enforcement authority is not made exclusive.”41
    Nor does this statute include an express provision for only
    specific situations for which private suits are authorized.
    Whereas in Sea Clammers, because the statute expressly
    authorized citizen suits in specific provisions, the Court could
    not assume that Congress intended to authorize additional
    judicial remedies for private citizens where it was not


    34
       Fitzgerald v. Barnstable Sch. Comm., 555 U.S. 246, 253
    (2009).
    35
       Blessing v. Freestone, 520 U.S. 329, 347 (1997) (citing
    Middlesex Cnty. Sewerage Auth. v. Nat’l Sea Clammers
    Ass’n., 453 U.S. 1, 13–14, 20 (1981)).
    36
       Id.
    37
       Id. (quoting Smith v. Robinson, 468 U.S. 992, 1009 (1984)).
    38
       Id. (citing Smith, 468 U.S. at 1011).
    39
       See Appellee Ritter Br. at 38–39; Appellee LCBE Br. at 12.
    40
       See 52 U.S.C. § 10101(c).
    41
       Appellee Ritter Br. at 39.
                                   10
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    expressly stated.42 Because the statute here does not contain
    this type of limiting provision and the Attorney General’s
    enforcement authority is not exclusive, the presumption of a
    private right of enforcement under § 1983 is simply not
    rebutted.
            Moreover, this case is also distinguishable from Smith.
    Unlike in Smith, this statute does not provide for “aggrieved
    individuals to invoke ‘carefully tailored’ local administrative
    procedures.”43 Instead, as mentioned above, the statute
    expressly gives aggrieved parties direct access to the federal
    courts “without regard to whether the party aggrieved shall
    have exhausted any administrative or other remedies.”44 This
    reinforces our conclusion that the presumption of a private
    right of action under § 1983 is not rebutted. 45
            In holding that there was no private right to enforce the
    Materiality Provision of the Civil Rights Act, the District
    Court concluded that under Wisniewski v. Rodale, Inc., the
    Attorney General’s authority to enforce § 10101 is
    inconsistent with a private remedy and therefore rebuts the
    presumption that arises under Gonzaga.46 However,
    Wisniewski involved an implied right of action that did not
    implicate § 1983.47 Moreover, for reasons we do not
    understand, the District Court neither cited § 1983 nor




    42
       Sea Clammers, 453 U.S. at 14–15.
    43
       Blessing, 520 U.S. at 1363 (quoting Smith, 468 U.S. at
    1009).
    44
       52 U.S.C. § 10101(d).
    45
       The Court also found that a statute precluded § 1983 claims
    in City of Rancho Palos Verdes v. Abrams, 544 U.S. 113, 120
    (2005). Intervenor-Appellee Ritter relies on this case as
    support for whether the presumption was rebutted here. His
    reliance is misguided, however, as that case found the
    relevant statute precluded § 1983 claims because Congress
    expressly narrowed the availability of privately enforceable
    judicial remedies. Id. at 121. Whereas here, the statute does
    not provide for a limited private remedial scheme.
    46
       Migliori, 2022 WL 802159, at *10.
    47
       Wisniewski v. Rodale, Inc., 510 F.3d 294, 301 (3d Cir.
    2007).
                                   11
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    engaged in Gonzaga’s two-part test.48 Moreover, Wisniewski
    is readily distinguishable because it involved comprehensive
    administrative proceedings, including a provision that
    allowed an administrative agency to bring civil suits. Section
    10101(c) only provides for suits by the Attorney General. It
    does not establish a cause of action for private individuals.
    When Congress added a provision for civil enforcement by
    the Attorney General,49 it acknowledged that private
    individuals had enforced the substantive rights in § 10101(a)
    via § 1983 for nearly a century.50 Moreover, it did not make
    the Attorney General’s enforcement mandatory.51
           Finally, the mere existence of a public remedy by the
    Attorney General is inadequate, without more, to rebut the
    presumption of a private right of action under § 1983.52
    “[T]he existence of a more restrictive private remedy for
    statutory violations has been the dividing line between those
    cases in which . . . an action would lie under § 1983 and those
    in which . . . it would not.”53 And here, § 10101 “contains no
    express private remedy, much less a more restrictive one.”54

    48
       The District Court applied only the implied right of action
    framework under Alexander v. Sandoval, 532 U.S. 275
    (2001). Migliori, 2022 WL 802159, at *12–13. Under this
    test, an implied right of action exists if “a statute . . .
    manifest[s] Congress’s intent to create (1) a personal right,
    and (2) a private remedy.” Three Rivers Ctr. for Indep. Living
    v. Housing Auth. of City of Pittsburgh, 382 F.3d 412, 421 (3d
    Cir. 2004) (citing Sandoval, 532 U.S. at 286). The District
    Court did cite Gonzaga in answering the first prong of this
    test, but that is because both the § 1983 analysis under
    Gonzaga and the implied right of action analysis under
    Sandoval begin with this question. See Migliori, 2022 WL
    802159, at *12. As stated above, because we need not decide
    whether Congress also intended to create an implied right of
    action, we need not engage with the test under Sandoval.
    49
       52 U.S.C. § 10101(c).
    50
       H.R. REP. No. 85-291, at 1977 (1957).
    51
       52 U.S.C. § 10101(c) (“[T]he Attorney General may
    institute for the United States . . . a civil action . . . .”
    (emphasis added)).
    52
       See Fitzgerald, 555 U.S. at 256.
    53
       Id. (first omission in original)
    54
       Id.
                                  12
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    Accordingly, for all the reasons stated above, we find that
    Appellees have failed to rebut the presumption of an
    enforceable right under § 1983. We therefore hold that private
    plaintiffs may enforce the Materiality Provision via § 1983,
    and the District Court erred in finding that Voters have no
    right of action.
                           2. Materiality55
           Because we find that private plaintiffs may enforce the
    Materiality Provision via § 1983, we now turn to whether the
    LCBE’s refusal to count Voters’ ballots for omitting the date
    violates this provision.56 To answer this query, we must ask

    55
       Intervenor-Appellee Ritter has argued that Voters claim is
    barred under the doctrine of laches. Appellee Ritter Br. at 22.
    We review a decision about the doctrine of laches for abuse
    of discretion. Kars 4 Kids, Inc. v. America Can!, 8 F.4th 209,
    219 n.10 (3d Cir. 2021). This argument is unavailing and
    merits only the briefest of discussion because Voters timely
    filed their complaint. We thus do not find that the District
    Court abused its discretion in concluding that “Ritter has
    failed to established Plaintiffs engaged in inexcusable delay
    in the filing of this matter.” Migliori, 2022 WL 802159, at *7.
    We also reject Ritter’s argument that Voters lack Article III
    standing for the remedy they seek. Ritter confuses standing
    for scope of remedy, which is non-jurisdictional and thus
    subject to forfeiture. See Barna v. Bd. of Sch. Dirs. of Panther
    Valley Sch. Dist., 877 F.3d 136, 147 (3d Cir. 2017). Because
    this argument was not raised below, it is forfeited.
    56
       The Materiality Provision applies to any “record or paper
    relating to any application, registration, or other act requisite
    to voting.” § 10101(a)(2)(B). We find that the mail-in ballot
    squarely constitutes a paper relating to an act for voting. We
    reject Appellees’ argument that the Materiality Provision does
    not apply here because the provision applies only to instances
    of racial discrimination and voter registration. Appellee Ritter
    Br. at 44, 46. When interpreting a statute, we first start with
    the plain meaning of the language. Mitchell v. Horn, 318 F.3d
    523, 535 (3d Cir. 2003). If the plain meaning is
    “unambiguous, then the first [step] is also the last.” In re
    Phila. Newspapers, LLC, 599 F.3d 298, 304 (3d Cir. 2010)
    (quoting Conn. Nat’l Bank v. Germain, 503 U.D. 249, 253–54

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    whether this requirement is material in determining whether
    such individual is qualified to vote under Pennsylvania law.
    In Pennsylvania, a voter is qualified if, by Election Day, “they
    are 18 years old, have been a citizen for at least one month,
    have lived in Pennsylvania and in their election district for at
    least thirty days, and are not imprisoned for a felony
    conviction.”57 In other words, the requirement is material if it
    goes to determining age, citizenship, residency, or current
    imprisonment for a felony.
            Appellees cannot offer a persuasive reason for how
    this requirement helped determine any of these
    qualifications.58 And we can think of none. Appellees try to
    make several reaching arguments. None of which we find
    persuasive. For example, Appellees argue that the date
    confirms a person is qualified to vote from their residence
    since a person may only vote in an election district s/he has
    resided in for at least thirty days before the election and one’s
    residency could change in a matter of days.59 It is unclear how
    this date would help determine one’s residency, but even
    supposing it could, this argument assumes the date on the
    envelope is correct. However, the LCBE counted ballots with
    obviously incorrect dates.60
            Intervenor-Appellee Ritter also argues that the date
    requirement is “material in determining an elector’s
    qualification to vote in future elections” because a voter
    found guilty of knowingly signing a voter declaration that is
    false is not allowed to vote for four years.61 This argument is

    (1992)). Here, the text of the provision does not mention
    racial discrimination and includes “other act[s] requisite to
    voting” in a list alongside registration. Thus, we cannot find
    that Congress intended to limit this statute to either instances
    of racial discrimination or registration.
    57
       25 Pa. Cons. Stat. §§ 1301(a), 2811.
    58
       See Appellee Ritter Br. at 49–50.
    59
       Id. at 50.
    60
       The Deputy Secretary for Elections & Commissions sent an
    email on behalf of the Pennsylvania Department of State
    reminding counties that “there is no basis to reject a ballot for
    putting the ‘wrong’ date on the envelope, nor is the date
    written used to determine the eligibility of the voter. You
    should process these ballots normally.” JA 192.
    61
       Appellee Ritter Br. at 54.
                                   14
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    particularly unpersuasive. Under the provision, materiality is
    limited to errors or omissions determining qualification “to
    vote in such election,” not future elections.62
            Intervenor-Appellee Ritter also claims that the date
    requirement “serves a significant fraud-deterrent function”
    and “prevents the tabulation of potentially fraudulent back-
    dated votes.”63 Even if this is true, the provision is clear that
    an “error or omission is not material” unless it serves to
    “determin[e] whether such individual is qualified under State
    law to vote in such election.”64 Fraud deterrence and
    prevention are at best tangentially related to determining
    whether someone is qualified to vote. But whatever sort of
    fraud deterrence or prevention this requirement may serve, it
    in no way helps the Commonwealth determine whether a
    voter’s age, residence, citizenship, or felony status qualifies
    them to vote. It must be remembered that all agree that the
    disputed ballots were received before the 8:00 p.m. deadline
    on Election Day. It must also be remembered that ballots that
    were received with an erroneous date were counted. We are at
    a loss to understand how the date on the outside envelope
    could be material when incorrect dates—including future
    dates—are allowable but envelopes where the voter simply
    did not fill in a date are not. Surely, the right to vote is “made
    of sterner stuff” than that.
            Ironically even the LCBE—the main defendant in this
    case—at first agreed that the omissions were immaterial.65
    The nail in the coffin, as mentioned above, is that ballots were
    only to be set aside if the date was missing—not incorrect. If
    the substance of the string of numbers does not matter, then it
    is hard to understand how one could claim that this
    requirement has any use in determining a voter’s
    qualifications. As Voters persuasively argue, “[t]he fact that
    anything that looks like a date, including a date from decades
    past or future, is acceptable highlights why the handwritten-
    envelope date cannot be material to accurately assessing
    anything.” Moreover, the Deputy Secretary for Elections &
    Commissions explicitly stated that the date is not used “to

    62
       52 U.S.C. § 10101(a)(2)(B) (emphasis added).
    63
       Appellee Ritter Br. at 55.
    64
       52 U.S.C. § 10101(a)(2)(B).
    65
       Migliori, 2022 WL 802159, at *3 (“[T]he LCBE voted
    unanimously to count the disputed ballots.”).
                                   15
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    determine the eligibility” (i.e., qualifications) of a voter.66
    This, without more, slams the door shut on any argument that
    this date is material.
           Upon receipt, the LCBE timestamped the ballots,
    rendering whatever date was written on the ballot superfluous
    and meaningless. It was not entered as the official date
    received in the SURE system, nor used for any other purpose.
    Appellees have offered no compelling reasons for how these
    dates—even if correct, which we know they did not need to
    be—help determine one’s age, citizenship, residency, or
    felony status. And we can think of none. Thus, we find the
    dating provisions under 25 Pa. Cons. Stat. §§ 3146.6(a) and
    3150.16(a) are immaterial under the Materiality Provision.
           All five Voters were qualified to vote in Lehigh
    County when they submitted their mail-in ballots and
    submitted their ballots on time. Accordingly, because their
    omissions of the date on their outside envelopes is immaterial
    to determining their qualifications, the LCBE must count their
    ballots. Otherwise, the LCBE will violate the Materiality
    Provision by denying Voters their right to vote based on an
    omission immaterial to determining their qualifications to
    vote.
                           IV. Conclusion
            Congress intended § 1983 to be a channel for private
    plaintiffs to enforce the Materiality Provision of the Civil
    Rights Act. That provision was created to ensure qualified
    voters were not disenfranchised by meaningless requirements
    that prevented eligible voters from casting their ballots but
    had nothing to do with determining one’s qualifications to
    vote. Ignoring ballots because the outer envelope was
    undated, even though the ballot was indisputably received
    before the deadline for voting serves no purpose other than
    disenfranchising otherwise qualified voters. This is exactly
    the type of disenfranchisement that Congress sought to
    prevent.
            Accordingly, we find the dating provisions in 25 Pa.
    Cons. Stat. §§ 3146.6(a) and 3150.16(a) are immaterial under
    § 10101(a)(2)(B). There is no basis on this record to refuse
    to count undated ballots that have been set aside in the
    November 2, 2021, election for Judge of the Common Pleas

    66
         JA 192.
                                  16
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    of Lehigh County. We will thus remand this matter to the
    District Court and direct that Court to enter an order that the
    undated ballots be counted.




                                   17
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    MATEY, Circuit Judge, concurring in the judgment.

          Much about this case is not disputed. And given the lack
    of genuine disagreement on key questions, I agree that the
    Appellants can enforce the Materiality Provision of the Civil
    Rights Act, 52 U.S.C. § 10101(a)(2)(B), under 42 U.S.C.
    § 1983.

            For one, the Appellees did not challenge the argument
    that § 10101(a)(2)(B) creates an individual federal right.1 At
    all.2 That is significant because “[o]nce a plaintiff demonstrates

           1
              We have held that a statute creates a personal right
    when it satisfies all three of Blessing v. Freestone’s factors:
    “First, Congress must have intended that the provision in
    question benefit the plaintiff. Second, the plaintiff must
    demonstrate that the right assertedly protected by the statute is
    not so ‘vague and amorphous’ that its enforcement would
    strain judicial competence. Third, the statute must
    unambiguously impose a binding obligation on the
    States . . . [i.e., it] must be couched in mandatory, rather than
    precatory, terms.” Ass’n of N.J. Rifle & Pistol Clubs Inc. v.
    Port Auth. of N.Y. & N.J., 730 F.3d 252, 254 (3d Cir. 2013)
    (alteration in original) (quoting Blessing v. Freestone, 520 U.S.
    329, 340–41 (1997)). The statute must also use “rights-creating
    language,” Lewis v. Alexander, 685 F.3d 325, 345 (3d Cir.
    2012) (quoting Gonzaga Univ. v. Doe, 536 U.S. 273, 287
    (2002)), and focus on the individuals protected, not the entity
    regulated, N.J. Primary Care Ass’n v. N.J. Dep’t of Hum.
    Servs., 722 F.3d 527, 538 (3d Cir. 2013) (citing Gonzaga, 536
    U.S. at 287–90).
            2
              At oral argument, Ritter conceded that the Materiality
    Provision contains rights-creating language, Oral Arg. at
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    that a statute confers an individual right, the right is
    presumptively enforceable by § 1983.” Sabree ex rel. Sabree
    v. Richman, 367 F.3d 180, 183 n.7 (3d Cir. 2004) (quoting
    Gonzaga, 536 U.S. at 284).

             For another, the Appellees offered no evidence, and
    little argument, that the date requirement for voter declarations
    under the Pennsylvania Election Code, 25 Pa. Cons. Stat.
    §§ 3146.6(a), 3150.16(a), is material as defined in
    § 10101(a)(2)(B). Instead, they agree that no party contests that
    voter declarations with inaccurate dates were counted in this
    election.3 Add up both concessions, and the Appellees have
    little room left to defend the District Court’s decision.

          But more room may exist in a future contest, and just
    because a statute is sometimes ignored does not mean the

    55:28–55:49, and the Lehigh County Board of Elections agreed
    with all parts of Ritter’s argument, Oral Arg. at 1:01:09–
    1:01:12. And “appellate courts do not sit as self-directed
    boards of legal inquiry and research, but essentially as arbiters
    of legal questions presented and argued by the parties before
    them.” See Wright v. Spaulding, 939 F.3d 695, 704 (6th Cir.
    2019) (alteration in original) (quoting Carducci v. Regan, 714
    F.2d 171, 177 (D.C. Cir. 1983) (Scalia, J.)).
            3
               Which follows the current guidance of the
    Pennsylvania Department of State that “there is no basis to
    reject a ballot for putting the ‘wrong’ date on the envelope, nor
    is the date written used to determine the eligibility of the voter.
    You should process these ballots normally.” (App. at 79, 192.)
    This guidance was confirmed by members of the Lehigh
    County Board of Elections who stated they would even count
    ballots with birthdates written instead of the date the voter
    signed the declaration. (App. at 254–55.)




                                    2
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    statute is always immaterial. Administrative guidance,
    particularly on the process of counting ballots, has been known
    to fluctuate. Perhaps the Commonwealth will change its rules
    raising fresh facts and unforeseen outcomes in a different race.
    Note, too, the importance of the time- and date-stamped ballots
    here produced by the SURE system.4 A system that, despite its
    name, could fail or freeze, or just run out of funding down the
    road.5 Surely, the lack of that evidence might form a different
    case and controversy, one where the materiality of the date on
    the voter declaration might make a difference.

           Those questions are for tomorrow. Today, it is enough
    to conclude, as the majority does, that the Appellees have
    explained no material issues left for litigation. For that reason,
    I concur in the Judgment.




           4
             25 Pa. Cons. Stat. § 1222 (establishing Pennsylvania’s
    electronic voter registration system, the SURE system, to be
    implemented by regulations from the Commonwealth’s
    Department of State).
           5
             Indeed, the only regulation that requires “[r]eturned
    absentee ballots [to] be immediately stamped showing the time
    and date of receipt” makes no mention of the SURE system. 4
    Pa. Code § 171.14(a).




                                    3
